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                              Exhibit F
Case 4:17-cv-00454-GKF-JFJ                    Document 159-7 Filed in USDC ND/OK on 10/12/18                                            Page 2
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    From:                Dalton, Rebecca
    To:                  Gill, Robert C.; Rubman, Gary; Antonelli, Matthew
    Cc:                  Fu, Yale; Sawyer, Michael; Swanson, Peter; Roman, Neil; dluthey@gablelaw.com; jhodges@hodgeslc.com;
                         Duane Zobrist; Jonathan Jacobs; Schaufelberger, Thomas S.; Flax, Sherry H.; Platt, Henry A.; VGTvCastleHill;
                         Darling, Jeremy B.
    Subject:             RE: VGT v. Castle Hill - VGT Discovery Responses
    Date:                Wednesday, June 13, 2018 5:46:20 PM
    Attachments:         image008.png


    Bob,

    Following up on my email below, please confirm whether the reports that were included in CHG's
    document production on Friday are the "financial and game placement reports" referenced in Jason
    Sprinkle's deposition, and if so, please confirm that CHG has now completed its production of such
    reports.

    In addition, please confirm whether CHG has now completed its production of all financial data.

    Best,
    Rebecca


    Rebecca Dalton

    Covington & Burling LLP
    One CityCenter, 850 Tenth Street, NW
    Washington, DC 20001-4956
    T +1 202 662 5189 | rdalton@cov.com
    www.cov.com




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    From: Dalton, Rebecca
    Sent: Monday, June 04, 2018 5:51 PM
    To: Gill, Robert C. <Robert.Gill@saul.com>; Rubman, Gary <grubman@cov.com>; Antonelli,
    Matthew <matt.antonelli@saul.com>
    Cc: Fu, Yale <yfu@cov.com>; Sawyer, Michael <msawyer@cov.com>; Swanson, Peter
    <pswanson@cov.com>; Roman, Neil <nroman@cov.com>; dluthey@gablelaw.com;
    jhodges@hodgeslc.com; Duane Zobrist <dzobrist@zoblaw.com>; Jonathan Jacobs
    <jjacobs@zoblaw.com>; Schaufelberger, Thomas S. <tschauf@saul.com>; Flax, Sherry H.
    <Sherry.Flax@saul.com>; Platt, Henry A. <Henry.Platt@saul.com>; VGTvCastleHill
    <VGTvCastleHill@cov.com>; Darling, Jeremy B. <Jeremy.Darling@saul.com>
    Subject: RE: VGT v. Castle Hill - VGT Discovery Responses

    Bob,
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    We have reviewed the documents that you produced on May 22, which you claim are responsive to
    our requests for financial information. The information CHG has produced is incomplete and poorly
    organized. We find it difficult to believe that these documents are the best that you have found to
    show CHG's financial data, particularly given that CHG has several investors who we assume require
    CHG to report accurate and understandable information about its financial performance and
    placement of games. Indeed, we note that CHG has produced at least one document (CHG0097121)
    containing detailed performance data for CHG games that is more organized and comprehensive
    (although that document also is incomplete, as it goes only through May 2017) than the financial
    data CHG has produced. The fact that CHG could generate this performance data suggests that CHG
    also can generate more complete financial information that is responsive to our requests.

    Accordingly, please clarify whether CHG intends to produce any additional financial data, aside from
    the "financial and game placement reports" referenced in Jason Sprinkle's deposition, or whether
    CHG will have completed its production of financial data once it produces the "financial and game
    placement reports."

    If CHG does intend to produce additional financial data aside from the "financial and game
    placement reports," we note that it has now been more than 8 months since VGT first requested
    these data. Since that time, VGT has made at least seven additional requests for such data, and the
    parties have met and conferred on the issue.

    If CHG does not intend to produce additional financial data, please explain why CHG is able to
    provide more detailed performance data (CHG0097121), but is not able to provide the specific
    information we have requested. We also ask you to make an explicit representation that the
    documents in CHG's productions are the best that you have found to show CHG's financial data and
    that you will not attempt to introduce any additional documents relating to financial data at trial,
    whether they be admitted through a damages expert or otherwise. Likewise, we assume that any
    experts who testify on CHG's behalf will not be provided access to any data or information that has
    not been produced to VGT in a timely manner.

    Finally, please also produce an updated version of the performance data that was included in
    CHG0097121.

    Please provide the requested confirmation by the end of day on Wednesday.

    Best,
    Rebecca


    Rebecca Dalton

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    One CityCenter, 850 Tenth Street, NW
    Washington, DC 20001-4956
    T +1 202 662 5189 | rdalton@cov.com
    www.cov.com
Case 4:17-cv-00454-GKF-JFJ                    Document 159-7 Filed in USDC ND/OK on 10/12/18                                     Page 4
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    From: Gill, Robert C. <Robert.Gill@saul.com>
    Sent: Thursday, May 24, 2018 5:47 PM
    To: Rubman, Gary <grubman@cov.com>; Antonelli, Matthew <matt.antonelli@saul.com>
    Cc: Fu, Yale <yfu@cov.com>; Sawyer, Michael <msawyer@cov.com>; Dalton, Rebecca
    <RDalton@cov.com>; Swanson, Peter <pswanson@cov.com>; Roman, Neil <nroman@cov.com>;
    dluthey@gablelaw.com; jhodges@hodgeslc.com; Duane Zobrist <dzobrist@zoblaw.com>; Jonathan
    Jacobs <jjacobs@zoblaw.com>; Schaufelberger, Thomas S. <tschauf@saul.com>; Flax, Sherry H.
    <Sherry.Flax@saul.com>; Platt, Henry A. <Henry.Platt@saul.com>; VGTvCastleHill
    <VGTvCastleHill@cov.com>; Darling, Jeremy B. <Jeremy.Darling@saul.com>
    Subject: RE: VGT v. Castle Hill - VGT Discovery Responses

    Gary,

    The production on Tuesday denominated (5.22.18) consisted of financial documents. That was the
    production that Messrs. Antonelli and Fu corresponded about yesterday. The Bates range for that
    production is CHG95720 – CHG0120663.

    Bob



    From: Rubman, Gary [mailto:grubman@cov.com]
    Sent: Thursday, May 24, 2018 1:33 PM
    To: Antonelli, Matthew
    Cc: Fu, Yale; Sawyer, Michael; Dalton, Rebecca; Swanson, Peter; Roman, Neil; dluthey@gablelaw.com;
    Gill, Robert C.; jhodges@hodgeslc.com; Duane Zobrist; Jonathan Jacobs; Schaufelberger, Thomas S.;
    Flax, Sherry H.; Platt, Henry A.; VGTvCastleHill; Darling, Jeremy B.
    Subject: RE: VGT v. Castle Hill - VGT Discovery Responses

    Bob,

    It does not appear that Castle Hill has yet produced the financial information we requested months
    ago. Although we were told it would be in the document production from earlier this week, it does
    not appear to have been included in that production. To the extent you believe Castle Hill has
    produced the requested financial information, please identify the Bates numbers for such
    information.

    - Gary



    From: Antonelli, Matthew <matt.antonelli@saul.com>
    Sent: Monday, May 21, 2018 4:40 PM
    To: Rubman, Gary <grubman@cov.com>
Case 4:17-cv-00454-GKF-JFJ            Document 159-7 Filed in USDC ND/OK on 10/12/18                     Page 5
                                                of 12

    Cc: Fu, Yale <yfu@cov.com>; Sawyer, Michael <msawyer@cov.com>; Dalton, Rebecca
    <RDalton@cov.com>; Swanson, Peter <pswanson@cov.com>; Roman, Neil <nroman@cov.com>;
    dluthey@gablelaw.com; Gill, Robert C. <Robert.Gill@saul.com>; jhodges@hodgeslc.com; Duane
    Zobrist <dzobrist@zoblaw.com>; Jonathan Jacobs <jjacobs@zoblaw.com>; Schaufelberger, Thomas
    S. <tschauf@saul.com>; Flax, Sherry H. <Sherry.Flax@saul.com>; Platt, Henry A.
    <Henry.Platt@saul.com>; VGTvCastleHill <VGTvCastleHill@cov.com>; Darling, Jeremy B.
    <Jeremy.Darling@saul.com>
    Subject: RE: VGT v. Castle Hill - VGT Discovery Responses

    Good Afternoon Gary –

    We will be making a production of Castle Hill financial information no later than Wednesday (5/23)
    of this week.

    Best,
    Matt

                               Matthew J. Antonelli
                               1919 Pennsylvania Avenue, N.W. Suite 550 | Washington, DC 20006-3434
                               Tel: 202.295.6608 | Fax: 202.295.6714
                               matt.antonelli@saul.com | www.saul.com




    From: Rubman, Gary [mailto:grubman@cov.com]
    Sent: Monday, May 21, 2018 4:22 PM
    To: Darling, Jeremy B.
    Cc: Fu, Yale; Sawyer, Michael; Dalton, Rebecca; Swanson, Peter; Roman, Neil; dluthey@gablelaw.com;
    Gill, Robert C.; jhodges@hodgeslc.com; Duane Zobrist; Jonathan Jacobs; Schaufelberger, Thomas S.;
    Flax, Sherry H.; Platt, Henry A.; Antonelli, Matthew; VGTvCastleHill
    Subject: RE: VGT v. Castle Hill - VGT Discovery Responses

    Jeremy,

    I am writing to follow-up once again on the status of Castle Hill's production of financial information
    in response to the discovery requests we served many months ago. We have raised this issue
    several times already and discussed it during meet and confer sessions. Moreover, almost two
    weeks ago, Bob Gill wrote that "[t]he CHG financial information is being reviewed and processed for
    production." When will that information be produced?

    Thanks.

    - Gary



    Gary Rubman
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                                                of 12

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    Washington, DC 20001-4956
    T +1 202 662 5465 | grubman@cov.com
    www.cov.com




    From: Rubman, Gary
    Sent: Wednesday, May 16, 2018 10:20 PM
    To: Darling, Jeremy B. <Jeremy.Darling@saul.com>
    Cc: Fu, Yale <yfu@cov.com>; Sawyer, Michael <msawyer@cov.com>; Dalton, Rebecca
    <RDalton@cov.com>; Swanson, Peter <pswanson@cov.com>; Roman, Neil <nroman@cov.com>;
    dluthey@gablelaw.com; Gill, Robert C. <Robert.Gill@saul.com>; jhodges@hodgeslc.com; Duane
    Zobrist <dzobrist@zoblaw.com>; Jonathan Jacobs <jjacobs@zoblaw.com>; Schaufelberger, Thomas
    S. <tschauf@saul.com>; Flax, Sherry H. <Sherry.Flax@saul.com>; Platt, Henry A.
    <Henry.Platt@saul.com>; Antonelli, Matthew <matt.antonelli@saul.com>; VGTvCastleHill
    <VGTvCastleHill@cov.com>
    Subject: Re: VGT v. Castle Hill - VGT Discovery Responses

    Jeremy,

    Can you please let us know when Castle Hill will be producing the financial information that we
    requested last year and that Bob has assured us on several occasions would be produced promptly?
     To the extent Castle Hill has produced the financial information we requested, please identify it by
    bates numbers. We will be following up separately on the other categories of documents that Castle
    Hill has not yet produced.

    Thanks.

    - Gary


    Gary M. Rubman
    Covington & Burling LLP
    One CityCenter
    850 Tenth Street, NW
    Washington, DC 20001
    (202) 662-5465
    (202) 778-5465 (fax)

    Sent from my iPad

    On May 16, 2018, at 10:16 PM, Darling, Jeremy B. <Jeremy.Darling@saul.com> wrote:
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         Yale:

         We are following up on our below requests. Please advise as to when VGT will be
         producing the documents which it previously agreed to locate and produce. We note
         that James Starr was a recipient of all of the documents requested below or the
         underlying emails relating to those documents. As you know, Mr. Starr’s deposition is
         scheduled for one week from today. Please produce these documents well in advance
         of Mr. Starr’s deposition so as to not cause any further delay.

         Regards,

         Jeremy



                                   Jeremy B. Darling
                                   SAUL EWING ARNSTEIN & LEHR LLP
         <image001.jpg>            One PPG Place, Suite 3010 | Pittsburgh, PA 15222
                                   Tel: 412.209.2508 | Fax: 412.209.2592
                                   jeremy.darling@saul.com | www.saul.com

         * Please note that our Firm name and my email address have changed.




         From: Darling, Jeremy B.
         Sent: Thursday, May 10, 2018 8:25 PM
         To: 'Fu, Yale'; Sawyer, Michael; Rubman, Gary; Dalton, Rebecca; Swanson, Peter; Roman,
         Neil; 'dluthey@gablelaw.com'
         Cc: Gill, Robert C.; 'jhodges@hodgeslc.com'; 'Duane Zobrist'; 'Jonathan Jacobs';
         Schaufelberger, Thomas S.; Flax, Sherry H.; Platt, Henry A.; Antonelli, Matthew
         Subject: RE: VGT v. Castle Hill - VGT Discovery Responses

         Yale:

         We disagree with VGT’s narrow construction of Castle Hill’s RFPs, and cannot
         comprehend VGT’s position that VGT’s product release plans are not relevant and
         responsive. Castle Hill’s RFP 66, for example, specifically requests “[a]ny and all
         documents concerning the past, present, and future plans to advertise, market, sell, or
         promote each VGT Game.” Further, VGT produced underlying emails in which these
         presentations were circulated by way of an internal Sharepoint link, and in which
         reference was made to “Release Management Monthly Meetings” at which these
         presentations were reviewed. We also disagree with VGT’s efforts to construe Castle
         Hill’s document production as incomplete or its position as inconsistent. Castle Hill has
         identified and requested the production of relevant documents which were not
         produced in VGT’s initial production, and those documents should be produced now.
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         As mentioned previously, these documents were circulated internally to numerous VGT
         employees including Barry Smitherman. While we appreciate that VGT has agreed to
         locate and review these documents, we are disappointed by VGT’s failure to timely
         produce these documents in advance of Mr. Smitherman’s deposition despite multiple
         requests. In light of VGT’s failure, Castle Hill reserves the right to leave Mr.
         Smitherman’s deposition open.

         Regards,

         Jeremy



                                  Jeremy B. Darling
                                  SAUL EWING ARNSTEIN & LEHR LLP
         <image001.jpg>           One PPG Place, Suite 3010 | Pittsburgh, PA 15222
                                  Tel: 412.209.2508 | Fax: 412.209.2592
                                  jeremy.darling@saul.com | www.saul.com

         * Please note that our Firm name and my email address have changed.




         From: Fu, Yale [mailto:yfu@cov.com]
         Sent: Wednesday, May 09, 2018 3:14 PM
         To: Darling, Jeremy B.; Sawyer, Michael; Rubman, Gary; Dalton, Rebecca; Swanson, Peter;
         Roman, Neil; 'dluthey@gablelaw.com'
         Cc: Gill, Robert C.; 'jhodges@hodgeslc.com'; 'Duane Zobrist'; 'Jonathan Jacobs';
         Schaufelberger, Thomas S.; Flax, Sherry H.; Platt, Henry A.; Antonelli, Matthew
         Subject: RE: VGT v. Castle Hill - VGT Discovery Responses

         Jeremy,

         Please see the responses below.

         Best regards,
         Yale


         From: Darling, Jeremy B. <Jeremy.Darling@saul.com>
         Sent: Monday, May 07, 2018 8:26 PM
         To: Fu, Yale <yfu@cov.com>; Sawyer, Michael <msawyer@cov.com>; Rubman, Gary
         <grubman@cov.com>; Dalton, Rebecca <RDalton@cov.com>; Swanson, Peter
         <pswanson@cov.com>; Roman, Neil <nroman@cov.com>; 'dluthey@gablelaw.com'
         <dluthey@gablelaw.com>
         Cc: Gill, Robert C. <Robert.Gill@saul.com>; 'jhodges@hodgeslc.com'
         <jhodges@hodgeslc.com>; 'Duane Zobrist' <dzobrist@zoblaw.com>; 'Jonathan Jacobs'
         <jjacobs@zoblaw.com>; Schaufelberger, Thomas S. <tschauf@saul.com>; Flax, Sherry
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                                             of 12

         H. <Sherry.Flax@saul.com>; Platt, Henry A. <Henry.Platt@saul.com>; Antonelli,
         Matthew <matt.antonelli@saul.com>
         Subject: RE: VGT v. Castle Hill - VGT Discovery Responses

         Yale:

         Thank you for your email. Please see the below responses and produce the requested
         documents as soon as possible in light of this week’s depositions.

         1) We are puzzled by VGT’s position that its internal Sharepoint production is complete
         merely because VGT “produced responsive documents from VGT's internal Sharepoint
         site based on running search terms.” If VGT produced an email or other document
         discussing or relating to a document located on VGT’s internal Sharepoint, the
         document located on VGT’s internal Sharepoint is relevant and should also be
         produced. If VGT’s production of the underlying emails discussing these presentations
         is not enough to concede the relevance of the presentations (we believe it is), the
         presentations appear to be product release plans and therefore fall within RFPs 61, 62,
         and 66, and likely 44-50, among others. We note that these documents were
         circulated among numerous VGT employees which include Barry Smitherman. Please
         produce these presentations tomorrow so we can review them in advance of Mr.
         Smitherman’s deposition. Thank you for confirming the production of the attachments
         to the emails; please also provide the Bates ranges for the same.

         We disagree with your assertion that these particular documents fall into the
         categories of what we have agreed to produce in response to the RFPs that you
         identify. We also disagree with your position that the production of emails
         automatically concedes that all documents referenced therein are responsive, and we
         disagree that a document is relevant simply because it is referenced in another
         document that happened to hit on a search term. Indeed, we note that Castle Hill has
         not followed this same rule in its productions. (See attached example of a Castle Hill
         email that cites to a document in Castle Hill's Dropbox that has not been produced by
         Castle Hill.)

         That being said, in an effort to reach compromise, we are attempting to locate the
         documents cited in these emails and will produce them to the extent they are relevant
         and non-privileged.

         As for the "Unnamed Attachment" files referenced in these emails, to clarify, these are
         “Microsoft Hyperlink Records” and are not picked up by the document processing
         engine because they are categorized as immaterial. Thus, there are no Bates numbers
         for these attachments.

         2) Again, we disagree with VGT’s position regarding its internal Sharepoint. Please
         produce the product management internal Sharepoint presentation or explain why the
         emails discussing these presentations are relevant but the actual presentations are not
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         relevant. Thank you for confirming that you will also be reviewing the “Multimedia
         Games Competitive Review” presentation discussed in the VGT email chain. Following
         your review, please produce the same.

         Again, to clarify, this email does not refer to a "product management internal
         Sharepoint presentation." Rather, it points to a SharePoint folder that appears to
         contain documents called "game requirements sheets." Although we continue to
         disagree that this email alone suggests that these documents are relevant and
         responsive, we will attempt to locate these documents and determine whether they
         are in fact relevant and responsive.

         3) Thank you for confirming you will be reviewing the “MGAM Competitive Review”
         discussed in this document. Following your review, please produce the same.

         Regards,

         Jeremy



                                  Jeremy B. Darling
                                  SAUL EWING ARNSTEIN & LEHR LLP
         <image001.jpg>           One PPG Place, Suite 3010 | Pittsburgh, PA 15222
                                  Tel: 412.209.2508 | Fax: 412.209.2592
                                  jeremy.darling@saul.com | www.saul.com

         * Please note that our Firm name and my email address have changed.




         From: Fu, Yale [mailto:yfu@cov.com]
         Sent: Sunday, May 06, 2018 11:49 PM
         To: Darling, Jeremy B.; Sawyer, Michael; Rubman, Gary; Dalton, Rebecca; Swanson, Peter;
         Roman, Neil; 'dluthey@gablelaw.com'
         Cc: Gill, Robert C.; 'jhodges@hodgeslc.com'; 'Duane Zobrist'; 'Jonathan Jacobs';
         Schaufelberger, Thomas S.; Flax, Sherry H.; Platt, Henry A.; Antonelli, Matthew
         Subject: RE: VGT v. Castle Hill - VGT Discovery Responses

         Jeremy,

         Please see the responses to your email below, in red.

         Best regards,
         Yale


         Yale Fu
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                                                    of 12

         Covington & Burling LLP
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         Redwood Shores, CA 94065-1418
         T +1 650 632 4716 | yfu@cov.com
         www.cov.com

         <image002.jpg>

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         From: Darling, Jeremy B. <Jeremy.Darling@saul.com>
         Sent: Thursday, May 03, 2018 8:59 PM
         To: Sawyer, Michael <msawyer@cov.com>; Rubman, Gary <grubman@cov.com>;
         Dalton, Rebecca <RDalton@cov.com>; Swanson, Peter <pswanson@cov.com>; Roman,
         Neil <nroman@cov.com>; 'dluthey@gablelaw.com' <dluthey@gablelaw.com>; Fu, Yale
         <yfu@cov.com>
         Cc: Gill, Robert C. <Robert.Gill@saul.com>; 'jhodges@hodgeslc.com'
         <jhodges@hodgeslc.com>; 'Duane Zobrist' <dzobrist@zoblaw.com>; 'Jonathan Jacobs'
         <jjacobs@zoblaw.com>; Schaufelberger, Thomas S. <tschauf@saul.com>; Flax, Sherry
         H. <Sherry.Flax@saul.com>; Platt, Henry A. <Henry.Platt@saul.com>; Antonelli,
         Matthew <matt.antonelli@saul.com>
         Subject: VGT v. Castle Hill - VGT Discovery Responses


         Counsel:

         In advance of next week’s depositions, please produce the following documents which
         appear to have been omitted from your previous document productions:

         1) The PowerPoint presentations referenced in VGT0012132, VGT0012134, and
         VGT0012136, along with any attachments to those emails;
         We can confirm that we have produced all attachments to these emails. We have also
         produced responsive documents from VGT's internal Sharepoint site based on running
         search terms. Please explain which RFPs you believe the .pptx files referenced in
         VGT0012132, VGT0012134, and VGT0012136 are responsive to and why these files are
         responsive.

         2) All documents, presentations, and reports referenced in VGT0019062 which have
         not already been produced, including but not limited to the following: (a) 2016 MGL
         “Master Games List” presentation, (b) “product management share point,”; and (c) the
         “competitor report” with the file name beginning with “Multimedia Games Competitive
         Review”; and
         The 2016 MGL "Master Games List" presentation has been produced with starting
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         bates numbers VGT0019023 and VGT0019064. Regarding the "product management
         share point," we have already produced responsive documents from VGT's internal
         Sharepoint site. We are investigating the "Multimedia Games Competitive Review."

         3) The MGAM Competitive Review referred to in VGT0019345.
         We are investigating the link to the "MGAM Competitive Review" in this document and
         will circle back.

         Regards,

         Jeremy



                                             Jeremy B. Darling
                                             SAUL EWING ARNSTEIN & LEHR LLP
         <image001.jpg>                      One PPG Place, Suite 3010 | Pittsburgh, PA 15222
                                             Tel: 412.209.2508 | Fax: 412.209.2592
                                             jeremy.darling@saul.com | www.saul.com

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         +~~~~~~~~~~~~~~~~~~~~~~~~+
